 Case 2:22-cv-00106-MCS-GJS
Case    2:22-cv-00106-MCS-GJS Document
                               Document15-1
                                         13 Filed
                                            Filed 02/16/22
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                                                  03/28/22 Page
                                                           Page 81 ofof 19 Page ID #:83
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                                  JUDGE MARK C. SCAR
                                  JUDGE           SCARSI
                            SCHEDULE       OF PRETRIAL AND TRIAL DATES WORKSHEET
                 Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                    The Court ORDERS the parties to make every effort to agree on dates.
    Case No.2:22-CV-00106 MCS(GJSX)Case
            2:22-CV-00106 MCS(GJSx)              Name: Joseph
                                                       J0S€Ph F.
                                                              F. Iniguez
                                                                 Iniguez v.
                                                                         v. City
                                                                            City of
                                                                                 of Azusa,
                                                                                    Azusa, et
                                                                                           et al.
                                                                                              al.
  Case No.
 Case Name:
                                                                               Pi(s)’ Date     Def(s)’ Date      Court Order
                 Trial and Final Pretrial Conference Dates
                                                                              mm/dd/yyyy       mm/dd/yyyy        mm/dd/yyyy

   Check one: XX Jury Trial or ~~ Court Trial                                                   007/11/2023
                                                                                                 07/11/2023       Jury Trial
   (Tuesday at 8:30 a.m., within 18 months after Complaint filed)               07/11/2023
                                                                                07/11/23
                                                                                                                  Court Trial
   Estimated Duration: __ 58    Days                                                                                    Days
   Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions          06/26/2023
                                                                             06/26/2023             06/26/2023
                                                                                                    06/26/2023
   In Limine
   (Monday at 2:00 p.m., at least 15 days before trial)


                                  Event!                           Weeks
                                                                               Pi(s)’ Date     Def(s)’ Date      Court Order
          Note: Hearings shall be on Monday at 9:00 A.M.           Before
                                                                              mm/dd/yyyy       mm/dd/yyyy        mm/dd/yyyy
               Other dates can be any day of the week.             FPTC


   Last Date to Hear Motion to Amend Pleadings/Add Parties                     05/09/2022
                                                                               05/09/2022     05/09/2022
                                                                                              05/09/2022
   [Monday]

   Non-Expert Discovery Cut-Off                                                01/16/2023
                                                                               01/16/2023     01/16/2023
                                                                                              01/16/2023
   (no later than deadline for filing dispositive motion)             17

                                                                             02/27/2023
                                                                             02/27/2023       02/27/2023
                                                                                              02/27/2023
    Expert Disclosure (Initial)
                                                                              03/13/2023
                                                                              03/13/2023       03/13/2023
                                                                                               03/13/2023
    Expert Disclosure (Rebuttal)

    Expert Discovery Cut-Off                                         122        03/20/2023
                                                                                03/20/2023    03/20/2023
                                                                                              03/20/2023

    Last Date to Hear Motions [Monday]
     * Rule 56 Motion due at least 5 weeks before hearing                      05/01/2023
                                                                               05/01/2023     05/01/2023
                                                                                              05/01/2023
     » Opposition due 2 weeks after Motion is filed                   12
     * Reply due 1 week after Opposition is filed

    Deadline to Complete Settlement Conference [L.R. 16-15]
     Select one:      1. Magistrate Judge (with Court approval)                                                   1. Mag. J.
                  X 2. Court's Mediation Panel                        10       04/17/2023
                                                                               04/17/2023     04/17/2023
                                                                                              04/17/2023          2. Panel
                  X 3. Private Mediation                                                                          3. Private

   Trial Filings (first round)
     * Motions in Limine
     » Memoranda of Contentions of Fact and Law [L.R. 16-4]
     »+ Witness Lists [L.R. 16-5]                                              06/05/2023
                                                                               06/05/2023      06/05/2023
                                                                                               06/05/2023
      + Joint Exhibit List [L.R. 16-6.1]
     « Joint Status Report Regarding Settlement
      + Proposed Findings of Fact and Conclusions of Law
        [L.R. 52] (court trial only)
     .« erations
        Declarations containing Direct Testimony (court trial
        only)
        only

   Trial Filings (second round)
     * Oppositions to Motions In Limine
     + Joint Proposed Final Pretrial Conference Order
        [L.R. 16-7]
       Joint/Agreed Proposed Jury Instructions (jury trial only)               06/12/2023
                                                                               06/12/2023     06/12/2023
                                                                                              06/12/2023
       Disputed Proposed Jury Instructions (jury trial only)
       Joint Proposed Verdict Forms (jury trial only)
       Joint Proposed Statement of the Case (jury trial only)
       Proposed Additional Voir Dire Questions, if any (jury
       trial only)
     + Evidentiary Objections to Decls. of Direct Testimony
       (court trial only)
     The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order.
     Patent and ERISA cases in particular may need to vary from the above.

     The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.
